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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

  SECURITIES AND EXCHANGE
  COMMISSION,
                                                            21-CV-5350 (PKC)
                              Plaintiff,

                 -against-

  RICHARD XIA, a/k/a YI XIA; and
  FLEET NEW YORK METROPOLITAN REGIONAL
  CENTER, LLC, f/k/a FEDERAL NEW YORK
  METROPOLITAN REGIONAL CENTER, LLC;

                              Defendants,

                 -and-

  JULIA YUE, a/k/a JIQING YUE, XI VERFENSTEIN,
  and XINMING YU,

                              Relief Defendants.




                      ORDER APPROVING THE MONITOR’S
                MOTION AUTHORIZING THE RELEASE OF FUNDS FOR
                     PAYMENT OF EB-5 INTEGRITY FUND FEE

        WHEREAS, on January 17, 2024, the Court granted the Motion for Approval of Release

 of Funds for Payment of EB-5 Integrity Fund fee (the “Motion”) of Court-appointed monitor M.

 Scott Peeler for entry of an order directing Defendant Richard Xia to have Defendant Fleet New

 York Metropolitan Regional Center, LLC, (“Fleet”) or other Xia Entity pay $20,000 to U.S.

 Citizenship and Immigration Services (“USCIS”) for the annual EB-5 Integrity Fund fee (the

 “Integrity Fee”) with funds from the CTBC account ending in 9799 or other Xia Entity account(s)

 if additional funds are needed;
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        WHEREAS, Defendants were unable to make the payment at that time due to the USCIS

 portal being closed and thereafter did not make the required Integrity Fee payment;

        WHEREAS, Defendants were notified by USCIS on or about June 28, 2024 that Fleet will

 be terminated as a regional center for purposes of the EB-5 Program for failure to pay the Integrity

 Fee and that Fleet has until July 31, 2024 to “offer evidence in opposition to the ground or grounds

 alleged” for termination;

        WHEREAS, on July 8, 2024, Defendants requested that the Court again issue an order

 directing Defendant Xia to have Fleet or another Xia Entity pay the Integrity Fee to USCIS, and

 to release funds from the CTBC account ending in 9799 or other Xia Entity account(s), if additional

 funds are needed, for that purpose (“Second Motion”);

        WHEREAS, termination of Fleet as a regional center could impair the interests of Fleet’s

 current EB-5 investors and, in turn, impair the settlement reached by the parties in this case; and

        WHEREAS, the Court finds safeguarding the interests of Fleet’s EB-5 investors and the

 preservation of the settlement achieved in this case to be of paramount importance;

        NOW, THEREFORE, based upon the Second Motion and all of the proceedings before

 this Court, and after due deliberation and sufficient cause appearing therefor, and no objection to

 the Second Motion having been raised, it is hereby:

        ORDERED that Defendants’ Second Motion is granted and that Defendant Xia is directed

 to have Fleet or other Xia Entity pay the Integrity Fee of $20,000 to USCIS with funds from the

 CTBC account ending in 9799 or other Xia Entity account(s), if additional funds are needed, by

 July 24, 2024; and it is further




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        ORDERED that CTBC shall release, solely for the purpose of paying the Integrity Fee to

 USCIS, funds from Defendant’s account ending in 9799 or other Xia Entity account(s), if

 additional funds are needed, for $20,000; and it is further

        ORDERED that Defendants shall file a status report on the Integrity Fee payment by

 September 30, 2024, along with documentary proof of any payment.

        ORDERED that the Court shall retain jurisdiction to hear and determine all matters arising

 from the implementation of this Order.

        SO ORDERED, this 9th day of July, 2024.



                                                               /s/ Pamela K. Chen

                                                               Pamela K. Chen
                                                               United States District Court Judge




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